IN THE CHANCERY COURT FOR BRADLEY CQQ§TY, TENNESSEE

WILLIAM V. BRUNER, )
Petitinner, l d §§
v. l No.: QO \O~C V ’ ll:l :_:
LIBERTY LIFE ASSURANCE l _ :.
CoMPANY ofBosToN, and ) ; §§
MAYTAG conPoRA'rIoN l m 11
Respondents. l

LETITION FOR JUDICIAL REVIEW OF DENIAL OF LONG-'I`ERM DISABILITY
§ENEFITS PURSUAN'I` TO 29 U.S.C.S. § 1001 ET SEQ.

COMES the Petitioner, Williarn V. Bruner, through counsel, pursuant to the Employee
Rotirement Incorne Security Act, 29 U.S.C.S. § 1001 et seq., and hereby petitions this Honorable
Court for judicial review of Respondents’ decision to deny Petitioner’s long-term disability
benefits, and for grounds would show this Court the following:

I

Petitioner Wiiliam V. Bruner is a citizen and resident of the State of Tennessee, residing

at 372 Millcreek Trail, Cleveland, Tennessee 37323.
ll

At all relevant times herein, Petitioner was a beneficiary of a_ long-term disability
insurance policy administered by Respondent Maytag Corporation and issued by Respondent
Liberty Life Assurance Company of Boston.

III
Petitioner suffers from chronic pain syndrome, fibromyalgia, colon cancer, chronic
osteoarthritis, Bell’s palsy, hypertension, diabetes and lumbar spine pain and is unable to engage

l

 

 

 

. EXH|B|T A
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in gainful employmentl At all times material herein, l-‘etitioner was covered under the long-tenn
disability insurance policy administered by Respondent Maytag Corporation and issued by
Respondent Liberty Li fe Assuranee Company of Boston
IV
On March 4, 2010, Respondents Liberty Life Assurance Company of Boston and the
Maytag Corporation denied Petitioner’s application for long-term disability benefitsl Petitloner
remains disabled to this date and is not able to engage in gainful employment Respondents’
denial of Petitioner’s long-term disability benefits was arbitrary and capricious and breached the
terms of the long-term disability insurance policy administered by the Maytag Corporation and
issued by Respondent Liberty Life Assurance Company of Boston.
V
Judicial review of this matter is appropriate in that Petitioner has exhausted his
administrative remedies.
WHEREFORE, Petitioner respectfully requests that this Court reverse Respondents’
decision denying Petitioner long-term disability benefits

ms § day er 4007 d2010.

Har$d'c. Wimbeny (BPR#ozi'/eo)
Attorneys for Petitioner

6759 Baum Dr.

K.tloxville, TN 37919

(865) 588-7465

CERT F T 0 VICE
I hereby certify a true and correct copy of the foregoing Petition and Summons have this date been
forwarded to the clerk for filing simultaneously with the issuance of Summons.

Th'\s § dayor ér,/ ,20)0. ,W&/;§

Hawtn'e. wimberly (BPR#021760)

 

 

 

 

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IN THE CHANCERY COUR'I` FOR BRADLEY COUN'I'Y TENNESSEE

 

'wn,LIAM V. BRUNER, )
Petitioner, l
v, l No.: ¢Ql doj V"ll\‘l _ m
LIBERTY LlFE AssUnANcE i §::_?§.{ ;i;’
coMPANY of BosToN, and ) .. ;;~_ :.~:-:.
MAYTAG coRPoRATroN i rm :
Respondents. l §§ §
cosT BoNl) 5 :`

l, William V. Bruncr as principal, and Harold C. Wimberly as Surety, are held firmly
bound unto the Chancery Couit of Bradley County, Teiuiessee for the payment oi` all costs
awarded against the principal To that end, we bind ourselves, our heirs, executors and
administrators

The Principal is commencing legal proceedings in the Chanceiy Court of Bradley
County, Tennessee. If the Principal shall pay costs which are adjudged against them then this
obligation is void. If the Pn'ncipal fails to pay then the surety shall undertake to pay all costs
adjudged against the Principal. Mandated at T.C.A. 20-12-l20 et seq.

RB.EYQIKM

William V. Bruner
Principal

372 Millcreek Trail.
Cleveland TN 37323
Address

gerald C. Wimberly

Surety (

V§\

 

SURETY

Signature of Surety

 

 

 

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State of Tennessee
Department of State

Dlviston of Business Services
312 Rosa L Pari<s Ava
661 Floor Wm. R. Snodgress Tower
Nashviiie. Tennessee 37243

§[t§LZ‘UtO 70090960000114700653
Doto Cer`titied Number

F|te No: ;QJ,Q“CV-ttrt
C°mp°“v= LIBERTY LIFE ASSURANCE COMPANY OF BOSTON

Name:
Agenr/POE:
Address: 176 BER!(ELE¥ ST
BOSTON, MA 02117
Country:

RE; WlLL|AM V BRUNER

LlBERTY LlFE ASSURANCE COMPANY OF BOSTON, AND MAYTAO
CORPORAT{ON

VS

Notice of Service

The onciosed summons and attachments are hereby officially served upon you by the Ofitce of the Ter\nessee
Secretary cf State pursuant to Tenneesee Law. Ploaso refer to the simmons and attachments for details concom-
ing the lawsuit filed against you. if you have any queetions. ptease contact the clerk of the court which issued the
summone. You can obtain the court's telephone number by wilan information (area code] 655-1212. The name of
the court and county where the court is located will be on the attached summons.

The summons will either tell you a court date and time at which you must appear to defend yourself or tell you
the number ci days from the day you are served within which you must file an answer upon the ptainttlfs attorney.
Faiiure to appear in court at the time specified or failure to answer the summons within the given time could result in
a ]udgemant by default bean rendered against you for relief sought in the lawsuit

The Secretary of Staie‘s Oiiice cannot give you legal advice. ll you need legal advlce-. please consult a private

attcmey.
Sincerely,
enclosure§_ Tre Hargelt
miner i'M_Mn`~l_ 4 r_ __ ’ secretary orswre
85-4214 (Rev. 3[97) RDA 1003

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IN THE CHANCERY COURT FOR BRADLEY COU§'I`Y, T§BNESSEE

WILLIAM V. BRUNER, )
)
Petitloner, ) g_)' §§
) 'c` .. g
v. ) No.: £(§i§}’C-\/" litd% ’:`§
) §§ 53
LIBERTY LIFE ASSURANCE ) .'.`/'__;~ r_ri . j
COMPANY of BOSTON, and ) S,Zl§ § '_ ;l"
) o>¥r- 4 ;_` (
MAYTAG CoRPoRATIoN ) §1; °‘ g- "
l m \°1" il
Respondents. ) '

SUMMONS

'l`O: Liberty Life Assurance Company of Bostnn
Sewe with process through the office of the
Secretary ofthc Statc of Tennessee at its agent
for service of process located at:

Libcrty Life Assuranee Company ofBoston
175 Berkeicy Street
Boston, MA, 02117

You are hereby summoned and required to serve upon Ha.rold C. Wirnberly,

 

Attorney at Law, petitioner's attomey, whose address is: 6759 Bau_m Drivc, Knoxville4
Tennessee §7919, a true copy of the answer to the Petition which is herewith served upon
you, within 30 days after service of this summons upon you, exclusive of the day of
service. You will file the original with the Court.

If you fail to do so, judgment by default will be taken against you for the relief

demanded in the complaintl
0
Issued this ia~ day of Mg\i 20 i_Oat _i_r_: o‘clock AM. Witness CARL
SHREwsBuRY, clerk organ court ar office the D~ in A{`Brt i

 

A.D., 2010.

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tthis summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedure)

NOTICETO THE DEFENDHNT(S):
Tennessee law provides a four thousand dollar ($4,000.00) personal

property exemption from execution or seizure to satisfy a judgment. If
a judgment should be entered against you in this action and you wish to
claim property as exempt, you must file a written list, under oath, of
the items you wish to claim as exempt with the clerk of the court. The
list may be filed at any time and may be changed by you thereafter as
necessary; however, unless it is filed. before the judgment becomes
final, it will not be effective as to any execution of garnishment
issued prior to the filing of the liat. Certain items are
automatically exempt by law and do not need to be listed; these include
items of necessary wearing apparel (clothing) for yourself and your
family, trunks or other receptacles necessary to contain such apparel,
family portraita, the family Bible, and school books. Should any of
these items be seized you would have the right to recover them. If you
do not understand your exemption right or how to exercise it, you may
wish to seek the counsel of a lawyer.

Received this day of , 2010. ___ ____l_ _____
Deputy Sheriff
RETURN ON SERVICE OF SUMMONS
I hereby certify and return that on the day of ,

2010 l served this summons together with the complaint as follower

 

failed to serve this summons within 30 days after its issuance because

 

SherifE~Dcputy Sheriff

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